Case 4:17-cr-00293-BSM Document 1329-1 Filed 12/03/19 Page 1 of1
‘>

J. S. DISTRICT COURT
EASTERN DISTRICT ARKANSAS

IN THE UNITED STATES DISTRICT COURF, 03 2019

EASTERN DISTRICT OF ARKANSAS s
JAMES W. McCORMACK, CLERK

UNITED STATES OF AMERICA =

DEP CLERK

VS. NO. 4:17CR00293-11 BSM

oo
2
JEFFREY G. HOWELL -
33 000-01
WRIT OF HABEAS CORPUS AD PROSEQUENDUM
TO THE CUSTODIAL AUTHORITY at the CALIFORNIA DEPARTMENT OF

CORRECTIONS AND REHABILITATION, CALIFORNIA CORRECTIONAL CENTER and
TO THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF ARKANSAS:

GREETINGS:

We command that you surrender the body of JEFFREY G. HOWELL CDCR# BJ3029
detained in the CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION,
CALIFORNIA CORRECTIONAL CENTER, Susanville, California in your custody, under safe
and secure conduct, to the custody of the United States Marshal for the Eastern District of
Arkansas, and the said Marshal is directed to produce the body of the Defendant before this Court
on November 21, 2019 at 2:00 p.m., before the Honorable Patricia S. Harris, and after the
proceedings have been concluded, that you return JEFFREY G. HOWELL to CALIFORNIA
DEPARTMENT OF CORRECTIONS AND REHABILITATION, CALIFORNIA
CORRECTIONAL CENTER under safe and secure conduct.

IN WITNESS WHEREOF, I have set my hand and the seal of said court, this 3 October
2019.

Lolwned nail aw.
ead) ned uy {0 0 cM mv) \ The Re

JAMES W. McCORMACK, CLERK

UNITED(STATES MAGISTRATA JUDGE
nil Zé pe. (| He ny OSE

 
